                                                                                                                                                 6/04/24 12:23PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Stone Masters Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Chim Himney Fireplace Pool & Spa/Seasonally Living
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1407 Maiden Lane St.
                                  Wenatchee, WA 98801-1000
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Chelan                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                24-00904-FPC11                Doc 1        Filed 06/04/24           Entered 06/04/24 12:02:43                    Pg 1 of 15
                                                                                                                                                      6/04/24 12:23PM

Debtor    Stone Masters Inc                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
                 24-00904-FPC11                  Doc 1       Filed 06/04/24              Entered 06/04/24 12:02:43                       Pg 2 of 15
                                                                                                                                                                6/04/24 12:23PM

Debtor    Stone Masters Inc                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                 24-00904-FPC11                       Doc 1        Filed 06/04/24            Entered 06/04/24 12:02:43                       Pg 3 of 15
                                                                                                                                 6/04/24 12:23PM

Debtor   Stone Masters Inc                                                          Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                24-00904-FPC11       Doc 1           Filed 06/04/24      Entered 06/04/24 12:02:43               Pg 4 of 15
                                                                                                                                                     6/04/24 12:23PM

Debtor    Stone Masters Inc                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 1, 2024
                                                  MM / DD / YYYY


                             X /s/ Cam McNeil                                                             Cam McNeil
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X /s/ Metiner G. Kimel                                                        Date June 1, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Metiner G. Kimel
                                 Printed name

                                 Kimel Law Offices
                                 Firm name

                                 205 N. 40th Ave., Suite 205
                                 Yakima, WA 98908
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (509) 452-1115                Email address      mkimel@mkimellaw.com

                                 21280 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 24-00904-FPC11              Doc 1         Filed 06/04/24             Entered 06/04/24 12:02:43                     Pg 5 of 15
                                                                                                                                                                 6/04/24 12:23PM




 Fill in this information to identify the case:
 Debtor name Stone Masters Inc
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Capital One                                                                                                                                                     $50,271.79
 PO Box 390846
 Minneapolis, MN
 55439
 Care Craft                                          Goods/products            Contingent                                                                          $6,165.77
 880 Carlsbad Village                                and/or services           Unliquidated
 Dr. Ste 200                                         rendered                  Disputed
 Carlsbad, CA 92008
 Cascade Concrete                                    Goods/products                                                                                              $11,999.67
 PO Box 387                                          and/or services
 Winthrop, WA 98862                                  rendered
 Cover Care                                                                    Disputed                                                                          $18,619.34
 9218 Roosevelt Way
 NE
 Seattle, WA 98115
 Dept of Labor &                                     based on 2023             Contingent                                                                        $50,000.00
 Industries                                          audit/currently on        Unliquidated
 PO Box 24106                                        appeal                    Disputed
 Seattle, WA 98124
 Dept Of Revenue                                     Taxes and/or                                                                                                $33,269.68
 3315 S 23rd St, Ste                                 other over
 300                                                 payments owed
 Tacoma, WA 98405
 Employment                                                                    Contingent                                                                          $7,719.41
 Security Department                                                           Unliquidated
 Office of Special                                                             Disputed
 Investigations
 PO Box 9046
 Olympia, WA 98507
 FNB Omaha                                           credit card                                                                                                   $4,126.95
 PO Box 2819
 Omaha, NE 68197
 Hearthstone                                         Collection                Disputed                                                                            $9,672.34
 PO Box 456                                          account
 Media, PA 19063




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    24-00904-FPC11            Doc 1        Filed 06/04/24              Entered 06/04/24 12:02:43                             Pg 6 of 15
                                                                                                                                                                 6/04/24 12:23PM




 Debtor    Stone Masters Inc                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Ingold Law                                          Collection                                                                                                  $15,607.82
 5555 Main St                                        attorney
 Buffalo, NY 14221                                   collecting for
                                                     Solenis-collection
 IRS Centralized                                     Taxes and/or                                                                                                $30,000.00
 Insolvency                                          other over
 PO Box 21126                                        payments owed
 Philadelphia, PA
 19114-0326
 Jacobsen, Jill &                                    Refund                                                                                                      $50,953.11
 Scott
 22 Frontage Rd
 Pateros, WA 98846
 JP Morgan Chase                                     crredit card              Disputed                                                                          $32,959.08
 500 Virginia Dr. Ste
 514
 Fort Washington,
 PA 19034-2733
 Kapitus LLC                                         global junior lien/ Disputed                           $76,100.00                        $0.00              $76,100.00
 2500 Wilson Blvd,                                   failed to file a
 Stge 350                                            financing
 Arlington, VA 22201                                 statement with the
                                                     State
 Mark Kirkorsky Law                                  Collection                                                                                                  $20,652.23
 Office                                              attorney
 1119 W Southern                                      collecting for
 Ave, Ste 200                                        Pool Corp (SCP)
 Mesa, AZ 85210
 Myers, Mary Jane                                                                                                                                                  $6,300.00
 19673 Chiwawa
 Loop Rd
 Leavenworth, WA
 98826
 Napolean Fireplace -                                need to separately                                                                                          $26,477.83
 BBQ                                                 mail
 24 Napoleon Rd
 Barrie, Ontario, CN
 Stenhjem, Tracy                                                               Unliquidated                                                                      $45,647.50
 7 Muligan LN                                                                  Disputed
 Pateros, WA 98846                                                             Subject to
                                                                               Setoff
 United Buyers                                                                                                                                                     $4,958.00
 Group
 PO Box 299
 Baraboo, WI 53913
 Uplinger, Steve                                     fireplace refund                                                                                              $7,524.41
 930 185th Ave NE
 Snohomish, WA
 98290




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    24-00904-FPC11            Doc 1        Filed 06/04/24              Entered 06/04/24 12:02:43                             Pg 7 of 15
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                       Stone Masters Inc
                       1407 Maiden Lane St.
                       Wenatchee, WA 98801-1000



                       Metiner G. Kimel
                       Kimel Law Offices
                       205 N. 40th Ave., Suite 205
                       Yakima, WA 98908



                       Banner Bank Corporation
                       10 South First Ave
                       PO Box 907
                       Walla Walla, WA 99362-0265



                       Benjamin Kelley Law Office
                       9218 Roosevelt Way NE
                       Seattle, WA 98115



                       Bernard Dalsin Manufacturing
                       5205 208th St
                       Farmington, MN 55024



                       Blue Line
                       1605 E Mead
                       Yakima, WA 98903



                       Canned Heat
                       2810 Stoner Ct Ste 2
                       North Liberty, IA 52317



                       Capital One
                       PO Box 390846
                       Minneapolis, MN 55439



                       Care Craft
                       880 Carlsbad Village Dr. Ste 200
                       Carlsbad, CA 92008




    24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 8 of 15
                   Cascade Concrete
                   PO Box 387
                   Winthrop, WA 98862



                   Cover Care
                   9218 Roosevelt Way NE
                   Seattle, WA 98115



                   Credit Control, LLC
                   3300 Rider Trail S, Suite 500
                   Earth City, MO 63045



                   Credit Mediators
                   PO Box 456
                   Upper Darby, PA 19082



                   Dept of Labor & Industries
                   PO Box 24106
                   Seattle, WA 98124



                   Dept Of Revenue
                   3315 S 23rd St, Ste 300
                   Tacoma, WA 98405



                   Eggert, Tim & Darci
                   1213 Southeast Jean St
                   East Wenatchee, WA 98802



                   Employment Security Department
                   Office of Special Investigations
                   PO Box 9046
                   Olympia, WA 98507



                   FNB Omaha
                   PO Box 2819
                   Omaha, NE 68197




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 9 of 15
                   FNB Omaha
                   PO Box 2818
                   Omaha, NE 68197



                   Hearthstone
                   PO Box 456
                   Media, PA 19063



                   Ingold Law
                   5555 Main St
                   Buffalo, NY 14221



                   IRS Centralized Insolvency
                   PO Box 21126
                   Philadelphia, PA 19114-0326



                   Jacobs Heating & Air
                   PO Box 3432
                   Wenatchee, WA 98807-3432



                   Jacobsen, Jill & Scott
                   22 Frontage Rd
                   Pateros, WA 98846



                   JMK Legacy Holdings LLC
                   495 Balsamroot Ln
                   Cashmere, WA 98815



                   John P. Winbauer
                   415 E. Mountain View Ave., Ste 302
                   Ellensburg, WA 98926



                   JP Morgan Chase
                   500 Virginia Dr. Ste 514
                   Fort Washington, PA 19034-2733




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 10 of 15
                   Kapitus LLC
                   2500 Wilson Blvd, Stge 350
                   Arlington, VA 22201



                   Kerry Lease
                   123 Mountain Brook Lane
                   Wenatchee, WA 98801



                   Kubota Credit Corp USA
                   3401 Del Amo Blvd
                   Torrance, CA 90503



                   Mark Kirkorsky Law Office
                   1119 W Southern Ave, Ste 200
                   Mesa, AZ 85210



                   Myers, Mary Jane
                   19673 Chiwawa Loop Rd
                   Leavenworth, WA 98826



                   Napolean Fireplace - BBQ
                   24 Napoleon Rd
                   Barrie, Ontario, CN



                   Napolean Fireplace - Hearth
                   24 Napoleon Rd
                   Barrie, Ontario, CN



                   North Cascades Heating and Air
                   PO Box 709
                   Wenatchee, WA 98807



                   Olympic Credit Service
                   PO Box 3432
                   Ellensburg, WA 98926




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 11 of 15
                   Olympic Credit Service
                   421 N Pearl Ste 213
                   Ellensburg, WA 98926



                   Pool Corp c/o Kirkorsky Law Off.
                   1119 W Southern Ave, Ste. 200
                   Mesa, AZ 85210



                   Radius Global Solutions
                   PO Box 390846
                   Minneapolis, MN 55439



                   Rocky and Roxann Campbell
                   175 Chase Ave
                   Manson, WA 98831



                   Rodgers, Jennifer
                   1115 N Carpenter Rd
                   Snohomish, WA 98290



                   Small Business Administration
                   801 W. Riverside Dr., Ste.444
                   Spokane, WA 99201



                   Solenis- Collection
                   5555 Main ST.
                   Buffalo, NY 14221



                   Stenhjem, Tracy
                   7 Muligan LN
                   Pateros, WA 98846



                   Steve McGladrey
                   24 Golf Course Rd
                   Pateros, WA 98846




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 12 of 15
                   Steve Wilfong
                   417 Lower Sunnyslope
                   Wenatchee, WA 98801



                   Stoner, James and Shelby
                   14130 Sandy Hook Rd NE
                   Poulsbo, WA 98370



                   Telescope Casual Furniture
                   82 Church St
                   Granville, NY 12832



                   Toyota Commercial Finance
                   8951 Cypress Waters Blvd, Ste 3
                   Coppell, TX 75019-4793



                   Tracey Stenhjem
                   7 Mulligen Ln,
                   Pateros, WA 98846



                   Transworld Systems
                   500 Virginia Dr Ste 514
                   Fort Washington, PA 19034-2733



                   Transworld Systems
                   PO Box 15537
                   Wilmington, DE 19850



                   United Buyers Group
                   PO Box 299
                   Baraboo, WI 53913



                   Uplinger, Steve
                   930 185th Ave NE
                   Snohomish, WA 98290




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 13 of 15
                   WLF Logistics, Inc
                   981 Highway 7 East
                   Peterborough ON
                   K9J 6X7




24-00904-FPC11   Doc 1   Filed 06/04/24   Entered 06/04/24 12:02:43   Pg 14 of 15
                                                                                                                6/04/24 12:23PM




                                        United States Bankruptcy Court
                                            Eastern District of Washington
 In re   Stone Masters Inc                                                          Case No.
                                                            Debtor(s)               Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Stone Masters Inc in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 1, 2024                                   /s/ Metiner G. Kimel
Date                                           Metiner G. Kimel
                                               Signature of Attorney or Litigant
                                               Counsel for Stone Masters Inc
                                               Kimel Law Offices
                                               205 N. 40th Ave., Suite 205
                                               Yakima, WA 98908
                                               (509) 452-1115 Fax:(509) 965-5860
                                               mkimel@mkimellaw.com




         24-00904-FPC11         Doc 1     Filed 06/04/24       Entered 06/04/24 12:02:43            Pg 15 of 15
